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                              UNITED STATES DISTRICT COURT

                                    DISTRICT OF OREGON

                                    PORTLAND DIVISION

INDEX NEWSPAPERS LLC, a Washington            Case No. 3:20-cv-1035-SI
limited-liability company, dba PORTLAND
MERCURY; DOUG BROWN; BRIAN
CONLEY; SAM GEHRKE; MATHIEU                   PLAINTIFFS’ AND FEDERAL
                                              DEFENDANTS’ JOINT STIPULATION
LEWIS-ROLLAND; KAT MAHONEY;                   REGARDING PRELIMINARY
SERGIO OLMOS; JOHN RUDOFF;                    INJUNCTION HEARING
ALEX MILAN TRACY; TUCK
WOODSTOCK; JUSTIN YAU; and those
similarly situated,
                Plaintiffs,
       v.
CITY OF PORTLAND, a municipal
corporation; JOHN DOES 1-60, officers of
Portland Police Bureau and other agencies
working in concert; U.S. DEPARTMENT OF
HOMELAND SECURITY; and U.S.
MARSHALS SERVICE,
                Defendants.

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         REGARDING PRELIMINARY INJUNCTION HEARING
         Case 3:20-cv-01035-SI          Document 132          Filed 08/09/20    Page 2 of 2




        Plaintiffs and defendants U.S. Department of Homeland Security and U.S. Marshals Service

(“the federal defendants”) hereby jointly stipulate that the preliminary injunction hearing (by

telephone) set for August 18, 2020, at 10:00 a.m., will not include the presentation of live witness

testimony.




Dated: August 9, 2020                                   By:
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Dated: August 9, 2020                                   By:     /s/ Jordan L. Von Bokern
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         REGARDING PRELIMINARY INJUNCTION HEARING
